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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )      CRIMINAL ACTION NO.
      v.                            )         2:19cr344-MHT
                                    )              (WO)
WILLIE M. BURKS, III                )

                                 ORDER

    Pursuant to the court’s order of October 19, 2020,

defendant Willie M. Burks, III’s motion in limine (doc.

no. 34) is set for oral argument on January 8, 2021.                    See

Order (doc. no. 59).         From a review of the filings, it

appears that Burks’s argument in the motion in limine is

more properly founded on Federal Rule of Evidence 404(b),

rather than on his constitutional due process rights.

    Accordingly, it is ORDERED that:

    (1) By noon on January 4, 2021, defendant Willie M.

Burks, III should file a brief indicating whether the

evidence identified in his motion in limine (doc. no. 34)

should be excluded under Federal Rule of Evidence 404(b).

Defendant Burks should review and cite specific Supreme
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Court and Eleventh Circuit case law in support of his

argument.

    (2) Although        the   government      in   its    response       to

defendant Burks’s motion (doc. no. 51) already treated

the motion as having been brought under Rule 404(b), if

the government has any additional response regarding Rule

404(b)     in   light    of    defendant      Burks’s      brief,       the

government will have until noon on January 6, 2021, to

respond.

    DONE, this the 29th day of December, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   2
